       Case 3:14-cr-00160-JBA Document 58 Filed 03/26/15 Page 1 of 16




                                            U.S. Department of Justice
                                            United States Attorney
                                            District of Connecticut

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                                            157 Church Street, Floor 25        Fax: (203) 773-5376
                                            New Haven, Connecticut 06510


                                            March 26, 2015
                                                                United States District Court
Jennifer Mellon, Esq.                                             District of Connecticut
Assistant Federal Defender                                       FILED AT NEW HAVEN
265 Church Street, Suite 702
New Haven, CT 06510
                                                                 ':fYl~ aL~                           2o1S
                                                                      Robert:; D. rabora, Clerk

          Re:   United States v. Wellington Brown
                                                                 sy        .a. LJ~
                                                                            Deputy Clerk
                Criminal No. 3:14CR160 (JBA)

Dear Attorney Mellon:

   This letter confirms the plea agreement between your client, Wellington Brown
(the "defendant"), and the United States Attorney's Office for the District of
Connecticut (the "Government" or "this Office") concerning the referenced criminal
matter.

THE PLEA AND OFFENSE

    The defendant agrees to plead guilty to each count of a six-count indictment
charging him in Count One with Conspiracy to Commit Sex Trafficking of a Minor,
in violation of 18 U.S.C. § 1594(c), and in Counts Two-Six with Sex Trafficking of a
Minor, in violation of 18 U.S.C. §§ 1591(a) and (b) and§ 2. He understands that, to
be guilty of these offenses, the following essential elements of the offenses must be
satisfied:

Count One (Conspiracy to Commit Sex Trafficking of a Minor)

      1. That two of more persons entered into an unlawful agreement to
         commit sex trafficking of a minor, as described in the indictment;
         and
      2. That the defendant knowingly and willfully became a member of
         this conspiracy.
        Case 3:14-cr-00160-JBA Document 58 Filed 03/26/15 Page 2 of 16

March 26, 2015, letter to Jennifer Mellon, Esq.
Page2

Count s Two Through Six (Sex Trafficking of a Minor)

       1. The defendant knowingly recruited, enticed, harbored, transported,
          provided, obtained, or maintained a person;
       2. The defendant knew or was in reckless disregard of the fact that
          the person was less than eighteen years of age, or had a reasonable
          opportunity to observe that person;
       3. The defendant knew, or was in reckless disregard of the fact, that
          the person would be caused to engage in a commercial sex act; and
       4. The recruiting, enticing, harboring, transporting, providing,
          obtaining, or maintaining was in or affecting interstate commerce.
THE PENALTIES

       The defendant's conviction on Count One carries a maximum penalty of life
imprisonment. The defendant's convictions on Counts Two-Six each carry a
maximum penalty of life imprisonment and a mandatory minimum penalty of ten
years of imprisonment. Each count of conviction carries a maximum $250,000 fine.
Moreover, any sentence of incarceration under these provisions also must include a
term of supervised release of at least five years and as much as life. 18 U.S.C. §
3583(k). Further, the defendant understands that by pleading guilty, he will be
required to register as a sex offender upon his release from prison as a condition of
supervised release pursuant to 18 U.S.C. § 3583(d). The defendant understands
that, should he violate any condition of the supervised release, he may be required
to serve a further term of imprisonment of up to five years per violation with no
credit for time already spent on supervised release. However, if the defendant is
required to register under the Sex Offender Registration and Notification Act, and
violates a condition of supervised release by committing any felony offense in
chapters 109A, 110, 117, or sections 1201 or 1591 ofTitle 18, United States Code,
then the defendant shall be required to serve a term of imprisonment of not less
than five years. 18 U.S.C. § 3583(k).

       The defendant also is subject to the alternative fine provision of 18 U.S. C.
§ 3571. Under this section, the maximum fine that may be imposed on the
defendant is the greatest of the following amounts: (1) twice the gross gain to the
defendant resulting from the offense; (2) twice the gross loss resulting from the
offense; or (3) $250,000.

       In addition, the defendant is obligated by 18 U.S.C. § 3013 to pay a special
assessment of $100 on each count of conviction, for a total of $600. The defendant
agrees to pay the special assessment on or before the date of sentencing unless he
establishes an inability to pay on or before the date of sentencing through the
financial disclosure to the Probation Office as part of the presentence investigation
and report, in which case the defendant agrees to pay it as soon as practicable.
        Case 3:14-cr-00160-JBA Document 58 Filed 03/26/15 Page 3 of 16

March 26, 2015, letter to Jennifer Mellon, Esq.
Page3

       The defendant also is subject to restitution, as discussed below. Unless
otherwise ordered, should the Court impose a fine or restitution of more than $2,500
as part of the sentence, interest will be charged on the unpaid balance of the fine or
restitution not paid within 15 days after the judgment date. 18 U.S.C. § 3612(£).
Other penalties and fines may be assessed on the unpaid balance of a fine or
restitution pursuant to 18 U.S.C. § 3572 (h), (i) and§ 3612(g).

       Finally, in addition to the standard conditions of any supervised release, the
defendant does not object to the Court ordering certain additional conditions, as set
forth in the attached Rider: Additional Conditions of Supervised Release.

       Restitution

       In addition to the other penalties provided by law, the Court must also order
that the defendant make restitution under 18 U.S.C. §§ 3663A, 2259, and 1593, and
the Government reserves its right to seek restitution on behalf of victims consistent
with the provisions of 18 U.S.C. §§ 3663A, 2259, and 1593. The scope and effect of
the order of restitution are set forth in the attached Rider Concerning Restitution
and Second Rider Concerning Restitution. Restitution is payable immediately
unless otherwise ordered by the Court.

THE SENTENCING GUIDELINES

       Applicability

       The defendant understands that the Court is required to consider any
applicable Sentencing Guidelines as well as other factors enumerated in 18 U.S.C.
§ 3553(a) to tailor an appropriate sentence in this case and is not bound by this plea
agreement. The defendant agrees that the Sentencing Guideline determinations
will be made by the Court, by a preponderance of the evidence, based upon input
from the defendant, the Government, and the United States Probation Office. The
defendant further understands that he has no right to withdraw his guilty pleas if
his sentence or the Guideline application is other than he anticipated, including if
the sentence is outside any of the ranges set forth in this agreement.

      Acceptance of Responsibility

       At this time, the Government agrees to recommend that the Court reduce by
two levels the defendant's adjusted offense level under§ 3El.l(a) ofthe Sentencing
Guidelines, based on the defendant's prompt recognition and affirmative acceptance
of personal responsibility for the offense. Moreover, should the defendant qualify for
a decrease under§ 3E1.1(a) and his offense level determined prior to the operation
of subsection (a) is level16 or greater, the Government will file a motion with the
Court pursuant to§ 3E1.1(b) which recommends that the Court reduce the
        Case 3:14-cr-00160-JBA Document 58 Filed 03/26/15 Page 4 of 16

March 26, 2015, letter to Jennifer Mellon, Esq.
Page4

defendant's Adjusted Offense Level by one additional level based on his prompt
notification of his intention to enter pleas of guilty. The defendant expressly
understands that the Court is not obligated to accept the Government's
recommendations on the reductions.

       The above-listed recommendations are conditioned upon the defendant's
affirmative demonstration of acceptance of responsibility, by (1) truthfully
admitting tha conduct comprising the offenses of conviction and truthfully
admitting or not falsely denying any additional relevant conduct for which the
defendant is accountable under Sentencing Guideline§ 1Bl.3, and (2) truthfully
disclosing to the Probation Office personal information requested, including the
submission of a complete and truthful financial statement detailing the defendant's
financial condition.

       In addition, the Government expressly reserves the right to seek denial of the
adjustment for acceptance of responsibility if the defendant engages in any acts,
unknown to the Government at the time of the signing of this agreement, which
(1) indicate that the defendant has not terminated or withdrawn from criminal
conduct or associations (Sentencing Guideline§ 3El.1); (2) could provide a basis for
an adjustmeJ:?.J; for obstructing or impeding the administration of justice (Sentencing
Guideline § 3t;1.1); or (3) constitute a violation of any condition of release.
Moreover, the Government reserves the right to seek denial of the adjustment for
acceptance of responsibility if the defendant seeks to withdraw his pleas of guilty or
takes a position at sentencing, or otherwise, which, in the Government's
assessment, is inconsistent with affirmative acceptance of personal responsibility.
The defendant understands that he may not withdraw his pleas of guilty if, for the
reasons explained above, the Government does not make one or both of the
recommendations or seeks denial of the adjustment for acceptance of responsibility.

       Guideline Stipulation

       The parties agree as follows:

      The Guidelines Manual in effect on the date of sentencing is used to
determine the applicable Guidelines range.

       The defendant's convictions under Counts Two-Six each involve separate
minor victims, specifically Minor Victim ("MV'')-1, MV-2, MV-3, MV-4, and MV-5
(collectively the "minor victims"). Under U.S.S.G. §§ 2G 1.3(d)(1) n.6 and 3Dl.2,
each count is treated as a separate group. Thus there are five groups, as follows:

Group 1 CMV-5) (Count Six): The defendant's base offense level under U.S.S.G. §
2G 1.3(a)(2) is 30. That level is increased by two because a participant in the crime
unduly influenced a minor to engage in prohibited sexual conduct. U.S.S.G. §
        Case 3:14-cr-00160-JBA Document 58 Filed 03/26/15 Page 5 of 16

March 26, 2015, letter to Jennifer Mellon, Esq.
PageS

2G 1.3(b)(2). That level is further increased by two because the offense involved the
use of a computer or an interactive computer service to entice, encourage, offer, or
solicit a person to engage in prohibited sexual conduct with a minor. U.S.S.G. §
2G 1.3(b)(3)(B). That level is further increased by two because the offense involved
the commission of a sex act or sexual contact. U.S.S.G. § 2G 1.3(b)(4)(A). That level
is further increased by two because the defendant was an organizer, leader,
manager, or supervisor of the criminal activity. U.S.S.G. § 3Bl.1(c). The total
offense level for Group 1 is therefore 38.

Group 2 (MV-2) (Count Three): The defendant's base offense level under U.S.S.G. §
2G 1.3(a)(2) is 30. That level is increased by two because a participant in the crime
unduly influenced a minor to engage in prohibited sexual conduct. U.S.S.G. §
2G 1.3(b)(2). That level is further increased by two because the offense involved the
use of a computer or an interactive computer service to entice, encourage, offer, or
solicit a person to engage in prohibited sexual conduct with a minor. U.S.S.G. §
2G 1.3(b)(3)(B). That level is further increased by two because the defendant was an
organizer, leader, manager, or supervisor of the criminal activity. U.S.S.G. §
3Bl.1(c). The total offense level for Group 2 is therefore 36.

Group 3 (l\1:V-4) (Count Five): The defendant's base offense level under U.S.S.G. §
2G 1.3(a)(2) is 30. That level is increased by two because a participant in the crime
unduly influenced a minor to engage in prohibited sexual conduct. U.S.S.G. §
2G 1.3(b)(2). That level is further increased by two because the offense involved the
use of a computer or an interactive computer service to entice, encourage, offer, or
solicit a person to engage in prohibited sexual conduct with a minor. U.S.S.G. §
2G 1.3(b)(3)(B). That level is further increased by two because the defendant was an
organizer, leader, manager, or supervisor ofthe criminal activity. U.S.S.G. §
3B1.1(c). The total offense level for Group 3 is therefore 36.

Group 4 <MV-1) (Count Two): The defendant's base offense level under U.S.S.G. §
2G 1.3(a)(2) is 30. That level is increased by two because the offense involved the
use of a computer or an interactive computer service to entice, encourage, offer, or
solicit a person to engage in prohibited sexual conduct with a minor. U.S.S.G. §
2G 1.3(b)(3)(B). That level is further increased by two because the defendant was an
organizer, leader, manager, or supervisor of the criminal activity. U.S.S.G. §
3Bl.1(c). The total offense level for Group 4 is therefore 34.

Group 5 <MV-3) (Count Four): The defendant's base offense level under U.S.S.G. §
2G 1.3(a)(2) is 30. That level is further increased by two because the offense
involved the use of a computer or an interactive computer service to entice,
encourage, offer, or solicit a person to engage in prohibited sexual conduct with a
minor. U.S.S.G. § 2G 1.3(b)(3)(B). That level is further increased by two because
the defendant was an organizer, leader, manager, or supervisor of the criminal
activity. U.S.S.G. § 3Bl.1(c). The total offense level for Group 5 is therefore 34.
        Case 3:14-cr-00160-JBA Document 58 Filed 03/26/15 Page 6 of 16

March 26, 2015, letter to Jennifer Mellon, Esq.
Page 6


       The Group with the highest offense level is Group 1, with an offense level of
38. Each of the other four Groups are within 1-4levels less serious than Group 1,
and therefore there are a total of 5 Units. Five Units increases the highest offense
level by 4, resulting in a combined offense level of 42. U.S.S.G. § 3Dl.4.

      Three levels are subtracted under U.S.S.G. § 3El.1 for acceptance of
responsibility, as noted above, resulting in a total offense level of 39.

       The defendant's conviction under Count One, Conspiracy to Commit Sex
Trafficking of Minors, involves the same five minor victims as in the substantive
counts. Under U.S.S.G. § 3Dl.2, the conspiracy conviction is treated as if the
defendant is guilty of five counts of conspiracy, one per victim, and these five
different counts are not grouped together. The calculation for each of these
conspiracies is identical to the calculation for the substantive counts, and these
conspiracies are grouped with their respective substantive counts, resulting in no
effect on the above-referenced offense level.

        Based on an initial assessment, the parties agree that the defendant falls
within Criminal History Category I. The parties reserve the right to recalculate the
defendant's Criminal History Category and corresponding sentencing ranges if this
initial assessment proves inaccurate.

       A total offense level 39, assuming a Criminal History Category I, would
result in a range of 262 to 327 months of imprisonment (sentencing table) and a fine
range of $25,000 to $250,000, U.S.S.G. § 5E1.2(c)(3). Under the Guidelines, the
defendant also is subject to a supervised release term of at least 5 years and as
much as life. U.S.S.G. § 5Dl.2.

       The Government and the defendant reserve their rights to seek a departure
or a non-Guidelines sentence, and both sides reserve their right to object to a
departure or a non-Guidelines sentence.

      The defendant expressly understands that the Court is not bound by this
agreement on the Guideline ranges specified above. The defendant further
understands that he will not be permitted to withdraw the pleas of guilty if the
Court imposes a sentence outside any of the ranges set forth in this agreement.

       In the event the Probation Office or the Court contemplates any sentencing
calculations different from those stipulated by the parties, the parties reserve the
right to respond to any inquiries and make appropriate legal arguments regarding
the proposed alternate calculations. Moreover, the parties expressly reserve the
right to defend any sentencing determination, even if it differs from that stipulated
by the parties, in any post-sentencing proceeding.
        Case 3:14-cr-00160-JBA Document 58 Filed 03/26/15 Page 7 of 16

March 26, 2015, letter to Jennifer Mellon, Esq.
Page 7


       Waiver of Right to Appeal or Collaterally Attack Conviction and Sentence

       The defendant acknowledges that under certain circumstances he is entitled
to challenge his conviction and sentence. The defendant agrees not to appeal or
collaterally attack his conviction in any proceeding, including but not limited to a
motion under 28 U.S.C. § 2255 and/or§ 2241. Nor will he pursue such an appeal or
collateral attack to challenge the sentence imposed by the Court if that sentence
does not exceed 327 months of imprisonment, a life term of supervised release, a
$600 special assessment, a $250,000 fine, and restitution in an amount to be
determined by the sentencing Court, even if the Court imposes such a sentence
based on an analysis different from that specified above. The Government and the
defendant agree that this waiver applies regardless of whether the term of
imprisonment is imposed to run consecutively to or concurrently with, in whole or in
part, the undischarged portion of any other sentence that has been imposed on the
defendant at the time of sentencing in this case. The defendant acknowledges that
he is knowingly and intelligently waiving these rights. Furthermore, the parties
agree that any challenge to the defendant's sentence that is not foreclosed by this
provision will be limited to that portion of the sentencing calculation that is
inconsistent with (or not addressed by) this waiver. Nothing in the foregoing waiver
of appellate and collateral review rights shall preclude the defendant from raising a
claim of ineffective assistance of counsel in an appropriate forum.

       Information to the Court

       The Government reserves its right to address the Court with respect to an
appropriate sentence to be imposed in this case. Moreover, the Government will
discuss the facts of this case, including information regarding the defendant's
background and character, 18 U.S.C. § 3661, with the United States Probation
Office and will provide the Probation Officer with access to material in its file, with
the exception of grand jury material.

WAIVER OF RIGHTS

       Waiver of Trial Rights and Consequences of Guilty Pleas

      The defendant understands that he has the right to be represented by an
attorney at every stage of the proceeding and, if necessary, one will be appointed to
represent him.

       The defendant understands that he has the right to plead not guilty or to
persist in that plea if it has already been made, the right to a public trial, the right
to be tried by a jury with the assistance of counsel, the right to confront and cross-
examine the witnesses against him, the right not to be compelled to incriminate
        Case 3:14-cr-00160-JBA Document 58 Filed 03/26/15 Page 8 of 16

March 26, 2015, letter to Jennifer Mellon, Esq.
Page8

himself, the right to testify and present evidence, and the right to compel the
attendance of witnesses to testify in his defense. The defendant understands that
by pleading guilty he waives and gives up those rights and that, if the pleas of
guilty are accepted by the Court, there will not be a further trial of any kind.

      The defendant understands that, if he pleads guilty, the Court may ask him
questions about each offense to which he pleads guilty, and if he answers those
questions falsely under oath, on the record, and in the presence of counsel, his
answers may later be used against him in a prosecution for perjury or making false
statements.

       Waiver of Statute of Limitations

       The defendant agrees that, should the conviction following defendant's pleas
of guilty pursuant to this plea agreement be vacated for any reason, then any
prosecution that is not time-barred by the applicable statute of limitations on the
date of the signing of this plea agreement (including any indictment or counts the
Government has agreed to dismiss at sentencing pursuant to this plea agreement)
may be commenced or reinstated against defendant, notwithstanding the expiration
of the statute of limitations between the signing of this plea agreement and the
commencement or reinstatement of such prosecution. The defendant agrees to
waive all defenses based on the statute of limitations with respect to any
prosecution that is not time-barred on the date the plea agreement is signed.

       Waiver of Challenge to Plea Based on Immigration Consequences

       The defendant understands that pleading guilty may have consequences with
respect to his immigration status if he is not a citizen ofthe United States. Under
federal law, a broad range of crimes are removable offenses, including the offenses
to which the defendant is pleading guilty. Indeed, because the defendant is pleading
guilty to sex trafficking of a minor, removal is presumptively mandatory. Removal
and other immigration consequences are the subject of a separate proceeding,
however, and the defendant understands that no one, including his attorney or the
district court, can predict to a certainty the effect of his conviction on his
immigration status. The defendant nevertheless affirms that he wants to plead
guilty regardless of any immigration consequences that his plea may entail, even if
the consequence is automatic removal from the United States.

       The defendant understands that he is bound by his guilty pleas regardless of
the immigration consequences of the pleas and regardless of any advice the
defendant has received from his counsel or others regarding those consequences.
Accordingly, the defendant waives any and all challenges to his guilty pleas and to
his sentence based on those consequences, and agrees not to seek to withdraw his
guilty pleas, or to file a direct appeal or any kind of collateral attack challenging his
        Case 3:14-cr-00160-JBA Document 58 Filed 03/26/15 Page 9 of 16

March 26, 2015, letter to Jennifer Mellon, Esq.
Page9

guilty pleas, conviction or sentence, based on the immigration consequences of his
guilty pleas, conviction and sentence.

ACKNOWLEDGMENT OF GUILT AND VOLUNTARINESS OF PLEA

       The defendant acknowledges that he is entering into this agreement and is
pleading guilty freely and voluntarily because he is guilty. The defendant further
acknowledges that he is entering into this agreement without reliance upon any
discussions between the Government and him (other than those described in the
plea agreement letter), without promise of benefit of any kind (other than the
concessions contained in the plea agreement letter), and without threats, force,
intimidation, or coercion of any kind. The defendant further acknowledges his
understanding ofthe nature of the offense to which he is pleading guilty, including
the penalties provided by law. The defendant also acknowledges his complete
satisfaction with the representation and advice received from his undersigned
attorney. The defendant and his undersigned counsel are unaware of any conflict of
interest concerning counsel's representation of the defendant in the case.

        The defendant acknowledges that he is not a "prevailing party" within the
meaning of Public Law 105-119, section 617 ("the Hyde Amendment") with respect
to the count of conviction or any other count or charge that may be dismissed
pursuant to this agreement. The defendant voluntarily, knowingly, and
intelligently waives any rights he may have to seek attorney's fees and other
litigation expenses under the Hyde Amendment.

SCOPE OF THE AGREEMENT

       The defendant acknowledges that this agreement is limited to the
undersigned parties and cannot bind any other federal authority, or any state or
local authority. The defendant acknowledges that no representations have been
made to him with respect to any civil or administrative consequences that may
result from these pleas of guilty because such matters are solely within the province
and discretion of the specific administrative or governmental entity involved.
Finally, the defendant acknowledges that this agreement has been reached without
regard to any civil tax matters that may be pending or which may arise involving
him.

COLLATERAL CONSEQUENCES

       The defendant understands that he will be adjudicated guilty of each offense
to which he has pleaded guilty and will be deprived of certain rights, such as the
right to hold public office, to serve on a jury, to possess firearms, and in some states,
the right to vote. Further, the defendant understands that if he is not a citizen of
the United States, a plea of guilty may result in removal from the United States,
        Case 3:14-cr-00160-JBA Document 58 Filed 03/26/15 Page 10 of 16

March 26, 2015, letter to Jennifer Mellon, Esq.
Page 10

denial of citizenship, and denial of admission to the United States in the future.
The defendant understands that pursuant to section 203(b) of the Justice For All
Act, the Bureau of Prisons or the Probation Office will collect a DNA sample from
the defendant for analysis and indexing. Finally, the defendant understands that
the Government reserves the right to notify any state or federal agency by which he
is licensed, or with which he does business, as well as any current or future
employer of the fact of his conviction.

SEX OFFENDER REGISTRATION

       The defendant acknowledges that he has been advised and understands that
he will be subject to federal and state sex offender registration requirements, and
that those requirements may apply throughout his life. The defendant understands
that pursuant to these requirements, he must register and keep the registration
current in each of the following jurisdictions: where he resides; where he is an
employee; and where he is a student. He understands that the requirements for
registration include providing his name, his residence address, and the names and
addresses of any places where he is or will be an employee or a student, among
other information. He further understands that the requirement to keep the
registration current includes informing at least one jurisdiction in which he resides,
is an employee, or is a student not later than three business days after any change
of his name, residence, employment, or student status. The defendant has been
advised, and understands, that he will be subject to possible federal and state
penalties for failure to comply with such sex offender notification requirements,
including prosecution for failure to register under federal law, 18 U.S. C. § 2250,
which is punishable by a fine or imprisonment, or both. If he resides in Connecticut
following release from prison, he will be subject to the registration requirements of
Conn. Gen. Stat. § 54-253. The defendant further understands that, under 18 U.S.C.
§ 4042(c), notice will be provided to certain law enforcement agencies upon his
release from confinement following conviction.

       As a condition of supervised release, the defendant shall initially register
with the state sex offender registration in Connecticut, and shall also register with
the state sex offender registration agency in any state where the defendant resides,
is employed, works, or is a student, as directed by the Probation Officer. The
defendant shall comply with all requirements of federal and state sex offender
registration laws, including the requirement to update his registration information.
The defendant shall provide proof of registration to the Probation Officer within 72
hours of release from imprisonment.
        Case 3:14-cr-00160-JBA Document 58 Filed 03/26/15 Page 11 of 16

March 26, 2015, letter to Jennifer Mellon, Esq.
Page 11

SATISFACTION OF FEDERAL CRIMINAL LIABILITY; BREACH

       The defendant's guilty pleas, if accepted by the Court, will satisfy the federal
criminal liability of the defendant in the District of Connecticut as a result of his
participation in the conduct that forms the basis of the indictment in this case.

       The defendant understands that if, before sentencing, he violates any term or
condition ofthis agreement, engages in any criminal activity, or fails to appear for
sentencing, the Government may void all or part of this agreement. If the
agreement is voided in whole or in part, defendant will not be permitted to
withdraw his pleas of guilty.

NO OTHER PROMISES

       The defendant acknowledges that no other promises, agreements, or
conditions have been entered into other than those set forth in this plea agreement,
and none will be entered into unless set forth in writing, signed by all the parties.

        This letter shall be presented to the Court, in open court, and filed in this
case.

                                            Very truly yours,

                                            DEIRDRE M. DALY
                                            UNITED STATES ATTORNEY


                                        4-= 6
                                            DAVID E. NOVICK    "'
                                            MARC H. SILVERMAN
                                            ASSISTANT U.S. ATTORNEYS


      The defendant certifies that he has read this plea agreement letter and its
attachments, that he has had ample time to discuss this agreement and its
attachments with counsel and that he fully understands and accepts its terms.



WELLINGTON BROWN                             Date
The Defendant
        Case 3:14-cr-00160-JBA Document 58 Filed 03/26/15 Page 12 of 16

March 26, 2015, letter to Jennifer Mellon, Esq.
Page 12

       I have thoroughly read, reviewed and explained this plea agreement and its
attachment(s) to my client who advises me that he understands and accepts its
terms.



J         R MELLON, ESQ.
At orney for the Defendant
        Case 3:14-cr-00160-JBA Document 58 Filed 03/26/15 Page 13 of 16

March 26, 2015, letter to Jennifer Mellon, Esq.
Page 13

                       RIDER CONCERNING RESTITUTION

      The Court shall order that the defendant make restitution under 18 U.S.C .
§ 3663A. The order of restitution may include:

1. If the offense resulted in damage to or loss or destruction of property of a victim
   of the offense, the order of restitution shall require the defendant to:

  A. Return the property to the owner of the property or someone designated by
     the owner; or

  B. If return of the property is impossible, impracticable, or inadequate, pay an
     amount equal to:

       The greater of-
       (I) the value of the property on the date of the damage, loss, or destruction;
           or

       (II)the value of the property on the date of sentencing, less the value as of the
           date the property is returned.

2. In the case of an offense resulting in bodily injury to a victim-

   A. Pay an amount equal to the costs of necessary medical and related
      professional services and devices related to physical, psychiatric, and
      psychological care; including non-medical care and treatment rendered in
      accordance with a method of healing recognized by the law of the place of
      treatment;

   B. Pay an amount equal to the cost of necessary physical and occupational
      therapy and rehabilitation; and

   C. Reimburse the victim for income lost by such victim as a result of such
      offense;

3. In the case of an offense resulting in bodily injury that results in the death of the
   victim, pay an amount equal to the cost of necessary funeral and related
   services; and

4. In any case, reimburse the victim for lost income and necessary child care,
   transportation, and other expenses incurred during participation in the
   investigation or prosecution of the offense or attendance at proceedings related
   to the offense.
        Case 3:14-cr-00160-JBA Document 58 Filed 03/26/15 Page 14 of 16

March 26, 2015, letter to Jennifer Mellon, Esq.
Page 14

       The order of restitution has the effect of a civil judgment against the
defendant. In addition to the court-ordered restitution, the court may order that
the conditions of its order of restitution be made a condition of probation or
supervised release. Failure to make restitution as ordered may result in a
revocation of probation, or a modification of the conditions of supervised release, or
in the defendant being held in contempt under 18 U.S.C. § 3583(e). Failure to pay
restitution may also result in the defendant's re-sentencing to any sentence which
might originally have been imposed by the Court. See 18 U.S.C. §§ 3614; 3613A.
The Court may also order that the defendant give notice to any victim(s) of his
offense under 18 U.S.C. § 3555.
        Case 3:14-cr-00160-JBA Document 58 Filed 03/26/15 Page 15 of 16

March 26, 2015, letter to Jennifer Mellon, Esq.
Page 15

                   SECOND RIDER CONCERNING RESTITUTION

       Pursuant to 18 U.S.C. § 2259, the Court shall direct the defendant to pay the
full amount of each victim's losses, including any costs incurred for:

       (A)    medical services relating to physical, psychiatric, or psychological care;

       (B)    physical and occupational therapy or rehabilitation;

       (C)    necessary transportation, temporary housing, and child care expenses;

       (D)    lost income;

       (E)    attorneys' fees, as well as other costs incurred; and

       (F)    any other losses suffered by the victim as a proximate result of the
              offense.

      Restitution is payable immediately unless ordered otherwise by the Court.
The order of restitution must be a condition of probation or supervised release.
Failure to make restitution as ordered may result in a revocation of probation, or a
modification of the conditions of supervised release, or in the defendant being held
in contempt under 18 U.S.C. § 3583(e). Failure to pay restitution may also result in
the defendant's re-sentencing to any sentence which might originally have been
imposed by the Court. 18 U.S. C. § 3614. The Court also may order that the
defendant give notice to any identifiable victim(s) of his offense under 18 U.S.C.
§ 3555. Finally, the order of restitution has the effect of a civil judgment against
the defendant.
           Case 3:14-cr-00160-JBA Document 58 Filed 03/26/15 Page 16 of 16

    March 26, 2015, letter to Jennifer Mellon, Esq.
    Page 16

             RIDER: ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

           1. The defendant shall participate in appropriate mental health treatment,
    either inpatient or outpatient, as directed by the Court. The defendant shall pay
    all, or a portion of, the costs associated with mental health treatment based on his
    ability to pay, in an amount to be determined by the United States Probation Office;

      2. The defendant shall permit the United States Probation Office,
accompanied with either local, state, or Federal law enforcement authorities, upon
reasonable suspicion, 1 to conduct a search of the defendant's residence, automobile,
and workplace for the presence of sexually explicit materials involving minors;

       3. The defendant shall comply with any applicable federal, state and local
sex offender registry laws and requirements;

       4. The defendant shall provide the United States Probation Office with
access to any requested financial records, including but not limited to, telephone
bills and credit card statements;

       5. The defendant shall not associate with or have contact with convicted sex
offenders or those considered inappropriate by the United States Probation Office
because of a connection to sexual abuse of minors or sexually explicit materials
involving minors, unless as part of an approved counseling group;

      6. The defendant is prohibited from holding any position of authority or
guidance over children or youth groups involving individuals under the age of 18;
and

      7. The defendant is prohibited from accessing or possessing sexually explicit
materials involving minors.




1
    See United States v. Lifshitz, 369 F.3d 173 (2d Cir. 2004).
